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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     HUNTINGTON DIVISION


UNITED STATES OF AMERICA

v.                                                   CRIMINAL ACTION NO. 3:14-00050-07

STACY SHEPARD


                          MEMORANDUM OPINION AND ORDER

       Pending before the Court is Defendant’s motion to produce (ECF No. 198), requesting

copies of the interim reports required by the order implementing wiretaps in this case. The

Government has filed a response opposing the motion, ECF No. 223, and the time to file a reply

has expired. The motion is ripe for resolution. For the reasons explained below, the motion is

DENIED.

       Federal law explains a judge’s authority to order interim reports regarding wiretap

progress, see 18 U.S.C. § 2518(6), but does not provide a statutory right for a defendant to access

these reports. Defendant cites to United States v. Quintana, 508 F.2d 867 (7th Cir. 1975) for the

proposition that interim reports are a factor to be considered when assessing the good faith

efforts made by the Government. Quintana discusses a judge’s authority to request interim

reports, id. at 875, but does not discuss a defendant’s ability to view these reports. Defendant

explains that Quintana was cited favorably by the Fourth Circuit in United States v. White, 519

F. App’x 797 (4th Cir. 2013); however, like Quintana, White does not discuss a defendant’s

ability to access interim reports.

       The Court notes that in at least one case, a court has ordered an in camera hearing to

review interim reports to determine if a defendant should then be allowed to access them. See

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United States v. Willis, 578 F. Supp. 361, 362-65 (N.D. Ohio 1984) (deciding “to lend credence

to petitioner’s claim that he simply did not have access to any additional information on which

he could have based his belief that either the initial authorizations or the subsequent extensions

may have been unlawfully granted”). Other courts, however, have rejected defendants’ requests

to view interim reports. See, e.g., United States v. Arnett, No. 04-CR-285, 2005 WL 6111778, at

*5-8 (E.D. Wis. Apr. 13, 2005) (noting that, “to determine compliance with the [wiretap] order,

all that the defense must have is the order and the results, i.e. the tapes and/or transcripts,” and

“the defendants’ suggestion that such progress reports might contain exculpatory information is

too speculative to warrant their disclosure”); United States v. Chimera, 201 F.R.D. 72, 76-78

(W.D.N.Y. 2001) (noting the burden of an in camera review when there was “no reasonable

probability” of finding relevant information); United States v. Orozco, 108 F.R.D. 313, 315-17

(S.D. Cal. 1985) (denying request to disclose reports, in part because “such reports are, for the

most part, summaries of interceptions and do not provide any statements or exculpatory

information not also required to be disclosed in its original form”); United States v. Marchman,

399 F. Supp. 585, 586 (E.D. Tenn. 1975) (“[I]t appears that access to these reports is unnecessary

since defendant has been given access to the Application and Order and has had the opportunity

to listen to all of the tapes of the intercepted communications. The so-called progress reports are

not required by law and the matter is left to the discretion of the issuing judge.”)

       This Court declines to follow Willis and instead, in accordance with the other cases noted

above, rejects Defendant’s request to view the interim reports. Interim reports serve the distinct

purpose of keeping the Court informed of developments as a wiretap progresses and federal law

does not provide a right for Defendant to access these reports. The reports merely summarize

information which is available to Defendant through other formats from government agencies.



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For these reasons, the Court DENIES Defendant’s motion.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to

counsel and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S.

Marshals Service.


                                           ENTER:         May 12, 2014




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